









Dismissed and Opinion filed May 9, 2002









Dismissed
and Opinion filed May 9, 2002.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00329-CR

____________

&nbsp;

BENDEL MITCHELL LASTRAPES, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
230th District Court

Harris County,
Texas

Trial Court Cause
No. 888,650

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
pled guilty to the offense of possession of a controlled substance on March 4,
2002.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, the trial court sentenced appellant to
two years= imprisonment in the Texas Department
of Criminal Justice, Institutional Division.&nbsp;
As part of the plea bargain agreement, appellant signed a written waiver
of his right to appeal.&nbsp; Because
appellant has waived his right to appeal, we dismiss. 








Appellant
pled guilty and the trial court followed the plea bargain agreement in
assessing punishment.&nbsp; Despite having
waived the right to appeal, appellant filed a notice of appeal.&nbsp; Appellant chose to enter into an agreement
that included a waiver of the right to appeal.&nbsp;
Appellant was informed of his right to appeal, knew with certainty the
punishment he would receive, and that he could withdraw his plea if the trial
court did not act in accordance with the plea agreement.&nbsp; As appellant was fully aware of the
consequences when he waived his right to appeal, it is Anot unfair to expect him to live with
those consequences now.@&nbsp; Alzarka
v. State, 60 S.W.3d 203, 206 (Tex. App.BHouston [14th Dist.] July 26, 2001, pet. filed September
28, 2001) (quoting Mabry v. Johnson, 467 U.S. 504, 104 S.Ct. 2543, 2547-48, 81 L.Ed.2d 437 (1984)).&nbsp; See also Blanco v. State, 18 S.W.3d
218, 219-20 (Tex. Crim. App. 2000); Buck v. State,
45 S.W.3d 275, 278 (Tex. App.CHouston [1st Dist.] 2001, no
pet.).&nbsp; 

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

&nbsp;

Judgment rendered and Opinion filed May 9, 2002.

Panel consists of Justices Seymore,
Guzman, and Edelman.

Do Not Publish C Tex. R. App. P. 47.3(b).





